         Case 2:22-cv-00543-WBS-KJN Document 30 Filed 10/14/22 Page 1 of 1


                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA




                                                          JUDGMENT IN A CIVIL CASE

TARA READE,

                                                        CASE NO: 2:22−CV−00543−WBS−KJN
                   v.

NEW YORK TIMES COMPANY,




    Decision by the Court. This action came before the Court. The issues have been tried,
    heard or decided by the judge as follows:

    IT IS ORDERED AND ADJUDGED

       THAT JUDGMENT IS HEREBY ENTERED IN ACCORDANCE WITH THE
       COURT'S ORDER FILED ON 10/13/2022




                                                    Keith Holland
                                                    Clerk of Court


   ENTERED: October 14, 2022


                                    by: /s/ J. Donati
                                                         Deputy Clerk
